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                                                                                                    United States District Court
                                                                                                      Southern District of Texas

                                                                                                         ENTERED
                                                                                                       January 18, 2022
                                UNITED STATES DISTRICT COURT
                                                                                                      Nathan Ochsner, Clerk
                                 SOUTHERN DISTRICT OF TEXAS
                                   CORPUS CHRISTI DIVISION


DIAGNOSTIC AFFILIATES OF                                 §
NORTHEAST HOU, LLC,                                      §
                                                         §
           Plaintiff,                                    §
                                                         §
VS.                                                      §     CIVIL ACTION NO. 2:21-CV-00131
                                                         §
UNITED HEALTH GROUP, INC., et al.,                       §
                                                         §
           Defendants.                                   §

                    ORDER ON MOTION TO DISQUALIFY COUNSEL

         Plaintiff Diagnostic Affiliates of Northeast Hou, LLC d/b/a 24 Hour Covid RT-PCR

Laboratory (Diagnostic Affiliates) filed this action to recover payments for COVID-19

testing and related services against three categories of Defendants: (1) UnitedHealth

Group, Inc. (UHG), the parent company of subsidiaries that administer health insurance

plans; (2) health insurance plan insurers or administrators, collectively referred to as

United;1 and (3) employer healthcare plans that are insured and/or administered by United.2


1
   “United” refers to: United Healthcare Services, Inc., United Healthcare Benefits of Texas, Inc., United Healthcare
of Texas, Inc., UMR, Inc., and OptumHealth Care Solutions, LLC (sued as OptumHealth Care Solutions, Inc.).
2
   “Employer healthcare plans” refers to: American International Group, Inc. Medical Plan; Anadarko Petroleum
Corp. Health Benefit Plan; Apple Inc. Health And Welfare Benefit Plan; Group Health And Welfare Plans (Aramark
Uniform Services); AT&T Umbrella Benefit Plan No. 1; AT&T Umbrella Benefit Plan No. 3; Baker Hughes, A GE
Company Welfare Benefits Plan; Baylor College Of Medicine Health And Welfare Benefits Plan; Brookdale Senior
Living, Inc. Welfare Plan; C.H Robinson Company Group Health Major Medical Plan; Calpine Corporation Employee
Benefit Plan; Caterpillar Inc. Group Insurance Master Trust; Celanese Health And Welfare Benefits Program;
Centerpoint Energy Group Welfare Benefits Plan For Retirees; Citgo Petroleum Corporation Defined Contribution
Master Trust; Delta Account Based Healthcare Plan; Envision Healthcare Corporation Welfare Benefits Plan;
H&E Equipment Services Inc. Benefit Plan; Flour Employee Benefit Trust Plan; Fresenius Medical Care Travelling
Nurses Health And Welfare Benefits Plan; Geico Corp. Consolidated Welfare Benefits Program; Geospace
Technologies Welfare Benefit Plan; Hudson Group (HG) Inc. Employee Benefits Plan; IQOR Health And Welfare
Plan; Jones Lang Lasalle Group Benefits Plan; Kellogg Brown & Root, Inc, Welfare Benefits Plan; Kinder Morgan,
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Before the Court is Diagnostic Affiliates’ Motion for Disqualification of Counsel Figari +

Davenport, LLP (Figari), which represents UHG, United, and most of the employer plans.

D.E. 104.

         Diagnostic Affiliates alleges irreconcilable and nonconsentable conflicts of interest

among Defendants that are so “manifest and glaring” and “open and obvious” that this

Court is compelled to intervene in the interest of the fair and efficient administration of

justice to disqualify the attorneys from representing any of the parties.                            D.E. 104.

Defendants respond that Diagnostic Affiliates merely seeks to divide and conquer

Defendants and has no standing to do so. Moreover, any conflict has been disclosed and

is the subject of client consents. D.E. 129. Diagnostic Affiliates has replied. D.E. 142.

         For the reasons set out below, the Court DENIES the motion.

                                 JURISDICTION AND STANDING

         This Court has federal question subject matter jurisdiction because several federal



Inc. Master Employee Welfare Plan; Lexicon Pharmaceuticals Inc. Comprehensive Welfare Benefits Plan; Lineage
Logistics LLC Benefits Plan; Lockton, Inc. Welfare Benefits Plan; M/I Homes, Inc. Health, Life And Dental Welfare
Plan; Maersk Inc. Active Nonunion Health And Welfare Plan; The Mallinckrodt Pharmaceuticals Welfare Benefit
Plan; Motiva Enterprises LLC Health and Wellness Benefit Plan; Novo Nordisk Inc. Welfare Benefit Plan Petsmart
Smartchoices Benefit Plan; Procter And Gamble Retiree Welfare Benefits Plan; Railroad Employees National Health
Flexible Spending Account Plan; Raising Canes USA Health And Welfare Benefits Wrap Plan; Republic Services
Inc. Employee Benefit Plan; Republic National Distributing Company, LLC Welfare Benefits Plan; Saia Motor
Freight Line LLC Employee Preferred Provider Plan; Siemens Corporation Group Insurance And Flexible Benefits
Program; Skadden, Arps, Slate, Meagher & Flom Partners’ Welfare Benefits Plan; Skywest Inc. Cafeteria Plan;
Southwest Airlines Co. Welfare Benefit Plan; Spirit Airlines Inc. Health And Welfare Benefits Plan; Swissport North
America Holdings, Inc. Health & Welfare Plan; Targa Resources LLC Welfare Benefits Plan; Texas Capital
Bancshares Inc. Employee Benefit Plan; Textron Non-Bargained Welfare Benefits Plan; Adecco, Inc Welfare Benefits
Plan; T-Mobile USA, Inc. Employee Benefit Plan; Transocean Group Welfare Benefit Plan; UHS Welfare Benefits
Plan; UnitedHealth Group Ventures, LLC Health And Welfare Benefit Plan; Valero Energy Corporation Retiree
Benefits Plan; Valmont Industries Inc. Welfare Benefit Plan; Walgreens Health And Welfare Plan; WCA Management
Company, LP Welfare Benefit Plan; Webber, LLC Welfare Benefit Plan; Winstead PC Flexible Benefit Plan; Group
Benefits Plan For Employees Of Worleyparsons Corporation. Of those that have appeared to date, only those listed
in bold are separately represented.

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statutes are squarely in issue: the FFCRA;3 the CARES Act;4 ERISA;5 and RICO.6 28

U.S.C. § 1331. Personal jurisdiction has been conceded. D.E. 95, p. 3. However,

Defendants have raised the question of standing with respect to the motion to disqualify.

Standing is a jurisdictional matter to be addressed at the outset. See Collins v. Yellen, 141

S. Ct. 1761, 1779 (2021) (citing DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 340

(2006)); see also California v. Texas, 141 S. Ct. 2104, 2113 (2021) (referencing the case

or controversy requirement of Art. III, § 2).

          Ordinarily, a plaintiff’s standing is based on the allegation of a “personal injury

fairly traceable to the defendant's allegedly unlawful conduct and likely to be redressed by

the requested relief.” DaimlerChrysler Corp., 547 U.S. at 342 (internal quotation marks

omitted); see also Lujan v. Defenders of Wildlife, 504 U.S. 555, 560–561 (1992). However,

different rules apply when the question is whether attorneys are acting in a manner

consistent with ethical restraints.

          Defendants argue that where the issue is a matter of a conflict of interest among an

attorney’s clients, the issue may be raised only by the aggrieved client. See In re Yarn

Processing Patent Litig., 530 F.2d 83 (5th Cir. 1976). However, three months prior to the




3
  Families First Coronavirus Response Act, Pub. L. No. 116-127, § 6001(a), 134 Stat. 178 (2020) (relating to 42
U.S.C. § 1320b–5 NOTE, authority to waive peer review and administrative requirements during national
emergencies).
4
  Coronavirus Aid, Relief, and Economic Security Act, Pub. L. No. 116-136, § 3202(a) 134 Stat. 281 (relating to 42
U.S.C. § 256b, primary health care drug pricing agreements).
5
    Employee Retirement Income Security Act of 1974, 29 U.S.C. § 1001 et seq.
6
    Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C. §§ 1961-1968.

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opinion in Yarn Processing, the Fifth Circuit determined that an attorney’s ethical

violations can be raised by an opponent:

               The substance of the government's motion was that appellant
               had violated the ethical canons of the American Bar
               Association, which prohibit a lawyer from representing parties
               with adverse interests. These ethical canons had been
               explicitly adopted by the local rules of the district court in
               which this action arose. When an attorney discovers a
               possible ethical violation concerning a matter before a court,
               he is not only authorized but is in fact obligated to bring the
               problem to that court's attention. Nor is there any reason why
               this duty should not operate when, as in the present case, a
               lawyer is directing the court's attention to the conduct of
               opposing counsel. In fact, a lawyer's adversary will often be in
               the best position to discover unethical behavior. We also
               conclude that the trial judge had jurisdiction to act upon this
               claim of unethical conduct. Local rules whose validity is not
               challenged expressly incorporate the American Bar
               Association's ethical canons and expressly give the district
               court the power to fashion sanctions. Furthermore, it is beyond
               dispute that lawyers are officers of the court and that the
               courts have the inherent authority to regulate their
               professional conduct.

In re Gopman, 531 F.2d 262, 265–66 (5th Cir. 1976) (citations and footnotes omitted)

(emphasis added); see also Brown & Williamson Tobacco Corp. v. Daniel Int'l Corp., 563

F.2d 671, 673 (5th Cir. 1977). The Yarn Processing opinion likewise recognized that an

opponent could complain of an attorney’s conflict of interest under appropriate

circumstances, but that those circumstances no longer existed in that case.

         A distinguishing fact between Gopman and Yarn Processing was that, in Yarn

Processing, the client—who first identified a conflict in his attorney’s handling of the case

for another party—had been dismissed from the case and was no longer pressing the issue.


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Thus, there were no divergent issues for conflict purposes before the Court. In Gopman,

the government complained of an attorney representing multiple different union officials

in an active grand jury criminal investigation. More like Gopman, the conflict of interest

here involves subsets of Defendants who remain parties to this case. Diagnostic Affiliates

therefore has standing to raise the issue and this Court has jurisdiction to decide it.

                                STANDARD OF REVIEW

         General Standard and Burden of Proof. Disqualification of an attorney is a

matter committed to the court’s sound exercise of discretion. F.D.I.C. v. U. S. Fire Ins.

Co., 50 F.3d 1304, 1310 (5th Cir. 1995) (citing In re Dresser Indus., Inc., 972 F.2d 540,

543 (5th Cir. 1992)). Findings of fact are reviewed under the clearly erroneous standard

and the application of ethical standards is subject to “careful examination” or de novo

review. Id. at 1310-11. The party seeking disqualification bears the ultimate burden of

proof. See Forsyth v. Barr, 19 F.3d 1527, 1546 (1994); Galderma Labs., L.P. v. Actavis

Mid Atl. LLC, 927 F. Supp. 2d 390, 398 (N.D. Tex. 2013). However, if properly placed in

issue, the attorney bears the burden of showing informed consent. See Galderma, 927 F.

Supp. 2d at 398.

         Caution When Brought by Opponent. Motions to disqualify that are brought by

an opposing party rather than by a client are viewed with significant caution.

               A disqualification inquiry, particularly when instigated by an
               opponent, presents a palpable risk of unfairly denying a party
               the counsel of his choosing. Therefore, notwithstanding the
               fundamental importance of safeguarding popular confidence in
               the integrity of the legal system, attorney disqualification,


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                particularly the disqualification of an entire firm, is a sanction
                that must not be imposed cavalierly.

F.D.I.C., 50 F.3d at 1316; see also Yarn Processing, 530 F.2d at 90 (noting that strong

presumptions in the analysis designed to favor a complaining client are inappropriate in

the hands of an opponent).

         Elaborating on this problem in view of the rules of professional responsibility, the

Fifth Circuit wrote:

                As noted in the comments to both the Model Rules and the
                Texas Rules, an opponent may be tempted to invoke the
                disqualification rule for purposes of harassment. Unhappily,
                as often as the rule is misused, the profession is disserved.
                When, for purely strategic purposes, opposing counsel raises
                the question of disqualification, and subsequently prevails,
                public confidence in the integrity of the legal system is
                proportionately diminished. “Indeed, the more frequently a
                litigant is delayed or otherwise disadvantaged by the
                unnecessary disqualification of his lawyer under the
                appearance of impropriety doctrine, the greater the likelihood
                of public suspicion of both the bar and the judiciary.”

F.D.I.C., 50 F.3d at 1316 (quoting Woods v. Covington Cnty. Bank, 537 F.2d 804, 813 (5th

Cir. 1976)).

         While nothing in these proceedings suggests that disqualification is sought for the

purpose—specifically—of harassment, it is clear that Diagnostic Affiliates stands to gain

a strategic advantage in making the challenge. It blames the Defendants’ united front (pun

unavoidable) under the supervision of the Figari firm for standing in the way of obtaining

individual settlements with the employer healthcare plans. Those settlements not only

resolve a subset of reimbursement claims, but they add pressure on the United Defendants


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to bear greater responsibility for their alleged wrongful conduct. See D.E. 104, p. 3.7

Therefore, the Court proceeds with caution.

         General Rubric. Motions to disqualify are “substantive motions affecting the

rights of the parties and are determined by applying standards developed under federal

law.” In re Am. Airlines, Inc., 972 F.2d 605, 610 (5th Cir. 1992). Federal courts may adopt

state or American Bar Association (ABA) rules as their ethical standards, but whether and

how those rules are to be applied is a question of federal law. Id. Pursuant to Local Rule

for the Southern District of Texas 83.1(l) and Appendix A, minimum standards of

professional conduct are governed by the Texas Disciplinary Rules of Professional

Conduct. However, “the court is not limited by that code.” Appendix A, Rule 1.

         Our sister court in the Northern District of Texas has recently noted that the rules to

be applied include the American Bar Association’s Model Rules of Professional Conduct:

                  Disqualification decisions in this Court are guided by state and
                  national ethical standards adopted by the Fifth Circuit. In the
                  Fifth Circuit, the source for the standards of the profession has
                  been the canons of ethics developed by the ABA.
                  Additionally, consideration of the Texas Disciplinary Rules of
                  Professional Conduct is also necessary because they govern
                  attorneys practicing in Texas generally. District courts also
                  consider, when applicable, local rules promulgated by the local
                  court itself.




7
   Diagnostic Affiliates writes, “Plaintiff has attempted to resolve these disputes directly with self-funded health plans
administered by United, including many of the Employer Plans, but has been prevented from moving forward on
individual resolutions after the Employer Plan retained Figari as it pertains to this matter. As shown below, for self-
funded health plans that have chosen independent counsel that is separate from the influences of Figari and United,
the self-funded health plan have: (i) conducted their own independent investigations; (ii) concluded that their
members’ claims were not adjudicated in accordance with the FFCRA and the CARES Act; and (iii) have become
materially and directly adverse towards United.”
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Texas v. Biden, 4:21-CV-0579-P, 2021 WL 5115608, at *5 (N.D. Tex. Nov. 3, 2021)

(citations omitted).

         The rules are not applied mechanically or in an inflexible manner because to do so

would frequently “abrogate important societal rights, such as the right of a party to his

counsel of choice and an attorney's right to freely practice her profession.” F.D.I.C., 50

F.3d at 1314 (citing Woods, 537 F.2d at 813); Church of Scientology of Cal. v. McLean,

615 F.2d 691, 693 (5th Cir. 1980). With respect to a challenge based on an alleged conflict

of interest, the court considers, “(1) the appearance of impropriety in general, or (2) a

possibility that a specific impropriety will occur, and (3) [whether] the likelihood of public

suspicion from the impropriety outweighs any social interests which will be served by the

lawyer's continued participation in the case.” Dresser, 972 F.2d at 544; F.D.I.C., 50 F.3d

at 1314.

                                          FACTS

         The amended complaint alleges nine counts as follows:

               Count I:    Violation of the FFCRA and the CARES Act - against all
                           Defendants;
               Count II:   Violation of ERISA for failure to pay provider charges with or
                           without an assignment of benefits - against all Defendants;
               Count III: Violation of ERISA for failure to provide a full and fair review
                          of the claims - against all Defendants;
               Count IV: Violation of RICO - against United;
               Count V:    Request for a declaratory judgment - against United;
               Count VI: Claim for unjust enrichment and quantum meruit - against
                         United:
               Count VII: Claim for promissory estoppel - against United;

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                  Count IX:8 Violation of the Texas Prompt Payment of Claims Act9 - against
                             United; and
                  Count X:       Claim for injunctive relief - against United.

D.E. 2, pp. 72-86. Diagnostic Affiliates’ motion to disqualify counsel is predicated on the

conflict of interest that allegedly exists between UHG/United and the employer plans that

it insures and/or administers with respect to both the first three counts alleged against all

categories of Defendants and with respect to the RICO claim in which the employer plans

are alleged to qualify as a criminal enterprise. See 18 U.S.C. §§ 1961(4), 1962(c).

         Diagnostic Affiliates states that “United has been a loyal and trusted client of

Figari’s for nearly two decades.” D.E. 104, p. 3. This involves representation since 2008

in 87 cases. Id. p. 9 & n.18. At the same time, United “serves in the trusted role of third-

party claims administrator for self-funded health plans, including the Employer Plans.” Id.,

p. 2. Diagnostic Affiliates does not state whether Figari has also represented any of the

employer plans in a similar number of cases over a similar amount of time or in any cases

brought jointly against the plan and United.

         As a result of the claims made in this case, Diagnostic Affiliates contends that

                  any reasonable attorney would come to the same conclusion
                  that Figari can never provide the same level of loyalty to
                  Employer Plans in this action than it has and will to continue
                  to provide to United especially given the fact that any liability
                  found against United through an independent investigation
                  and/or through litigation would result in actionable claims
                  against United by the Employer Plans and/or members of the
                  Employers Plans.

8
    The amended complaint does not include a Count VIII.
9
    Texas Insurance Code §§ 843.351 and 1301.069.

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Id., pp. 3-4.

                                      DISCUSSION

       In keeping with the Dresser rubric, the Court considers the three enumerated areas

of inquiry.     The first two identify the existence of a conflict or the appearance of

impropriety and the third addresses the balance between any impropriety and societal

interests served by the lawyer’s continued joint representation.

   A. Conflict or Appearance of Impropriety

       Reimbursement Claims.         According to Diagnostic Affiliates’ briefing, there

appear to be two levels of potential conflict in this case. The first is with respect to its

reimbursement claims under its first three counts, alleged against all Defendants. It

suggests, based on its experience with one self-funded health plan, that if the employer

health plans have independent counsel, they will conclude that United has not complied

with the law and will settle with Diagnostic Affiliates. It goes on to suggest that those

plans will then pursue their own remedies against United or at least put increasing pressure

on United to pay Diagnostic Affiliates’ claims. Because of Figari’s loyalty to United, the

argument continues, it cannot properly represent the adverse interests of the employer

healthcare plans.

       But Diagnostic Affiliates’ argument is speculative, presuming a realignment of

parties that is inconsistent with their respective interests as to the reimbursement claims.

The crux of this case is whether Diagnostic Affiliates can lawfully charge a price for

COVID-19 testing that is—according to Defendants—approximately ten times more than


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an appropriate amount and whether the claims were properly supported and documented.

On this dispute, United and the employer healthcare plans are properly aligned together

against Diagnostic Affiliates.

       All Defendants have a common interest in protecting plan assets from charges that

are excessive, mistaken, or fraudulent. The decision as to whether the claims must be

reimbursed affects them all in a comparable way in relation to Diagnostic Affiliates. And

there is a conceivable benefit to their joint representation, both in cost-savings and in

creating a formidable joint opposition.

       To find the conflict of interest that Diagnostic Affiliates advances, the Court has to

presume that Diagnostic Affiliates’ claim is correct and that there are no terms in the

agreements between United and the employer healthcare plans—whether in plan insurance,

plan administration, or joint representation agreements—that adequately anticipate and

address the parties’ respective rights and responsibilities in that regard.       Any such

presumption is unwarranted under the evidence.

       As Figari points out, the employer healthcare plans are sponsored by large

corporations with significant resources and sophisticated counsel. There is no reason to

assume that they will be caught unaware in an unanticipated conflict that affects the

administration of their interests in this case. And, as a matter of fact, there are terms in

agreements between Defendants as to their respective liabilities on claims of the sort made

here. See Affidavit of Zona, D.E. 129-2, pp. 2, 10-11. That evidence is uncontroverted.




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       Diagnostic Affiliates’ own briefing of the applicable ethical rules reveals a number

of factual questions relevant to finding a conflict of interest. And it has offered no evidence

on those fact issues. As the Yarn Processing opinion noted, presumptions that might work

in favor of a client complaining of his own lawyer do not belong in the hands of an

opponent. 530 F.2d at 90.

       For instance, there may be a conflict where there is a “substantial discrepancy in the

parties' testimony, incompatibility in positions in relation to an opposing party or the fact

that there are substantially different possibilities of settlement of the claims or liabilities in

question.” D.E. 104, p. 12 (quoting Texas Rule of Disciplinary Conduct 1.06, comment 3

and Model Rule 1.7, comment 23). But Diagnostic Affiliates has not offered any evidence

of discrepancy in testimony. There appears to be no incompatibility of their positions vis-

à-vis Diagnostic Affiliates. And they have expressly chosen to fight Diagnostic Affiliates

together, suggesting that they anticipate better, or more cost-effective, results acting as a

single bloc.

       Diagnostic Affiliates quotes other comments to ethical rules, such as the one

condemning dual representation if “the lawyer reasonably appears to be called upon to

espouse adverse positions in the same matter or a related matter.” D.E. 104, p. 12 (quoting

Texas Rule 1.06, comment 6). There is no evidence of any adverse positions required in

litigating this case. And the clients have not been shown to be “aligned directly against

each other” in this proceeding. See Id. (quoting Model Rule 1.7, comment 17). While

Diagnostic Affiliates wants to instigate a scenario where Defendants are aligned against


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each other, that is not the current scenario. The prospects of a realignment happening

without the involvement of new counsel are not sufficiently concrete to declare a conflict

of interest at this stage of the proceedings.

       Diagnostic Affiliates’ arguments regarding United’s treatment of requests for

information from plan participants is a red herring. See D.E. 104, p. 15. Plan participants

are not parties to this litigation. There is no legal or analytical basis for making their

interests proxies for the interests of the plans in litigation brought by a healthcare provider.

Those insured by an employer healthcare plan have interests that can align with the

healthcare provider as easily as they can align with the plan and its administration. So it

makes no sense to conflate the interests of the members with those of the plans.

       The argument that disclosure of United’s confidential information would be

required to properly represent the employer healthcare plans is conclusory. See D.E. 104,

p. 16. Diagnostic Affiliates provides no detail as to what information would be required

or why. And while Diagnostic Affiliates complains of United giving self-funded health

plan clients conflicting information regarding the reimbursable amount of COVID-19

testing services, it does not show how that creates a conflict of interest among Defendants

in relation to Diagnostic Affiliates. See D.E. 104, pp. 16-18.

       Diagnostic Affiliates also seeks to analogize conflicts of interest created in an

insurance company’s simultaneous representation of a driver and a passenger in an

automobile collision. D.E. 104, pp. 18-19. But the analogy does not apply. Drivers and

passengers simply do not enter into pre-trip agreements regarding the operation of the


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vehicle in advance, with provisions for indemnity, as evidenced here. And the allegedly

injured claimant here is not the passenger, but the opposing driver.

       Diagnostic Affiliates has not demonstrated that there is a conflict of interest among

Defendants with respect to the reimbursement claims alleged under the first three counts

in the complaint. To the contrary, Figari has shown that there is no conflict to begin with

and that Defendants have agreements that govern the allocation of responsibility for claims

raised against them jointly. And there is nothing to raise an eyebrow in their joint defense

against Diagnostic Affiliates. Thus, there is no actual conflict or appearance of impropriety

arising with respect to the reimbursement claims.

       RICO/Enterprise. The second alleged conflict arises out of the RICO allegations

against United, wherein Diagnostic Affiliates takes the position that United has used the

employer healthcare plans as an enterprise. In that regard, it cites a civil RICO case, Kaiser

v. Stewart, CIV. A. 96-6643, 1997 WL 186329 (E.D. Pa. Apr. 10, 1997) for the proposition

that conflicts prohibited a single firm’s representation of 14 co-defendants without affidavit

evidence of waivers.

       Kaiser is distinguishable because the RICO claims here are made only against the

United Defendants, not the employer healthcare plans. And Diagnostic Affiliates is only

concerned with the representation of the employer healthcare plans, not any conflict

involved in representing multiple United entities. It is not clear, and Diagnostic Affiliates

has not tried to explain, how RICO claims asserted only against United create a conflict of




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interest for the attorneys who also represent the plans, simply by virtue of alleging that

United used the plans as an enterprise.

       Even if there were a potential conflict, the Kaiser opinion does not support

disqualification.

              It is not for the court to second guess decisions of the various
              defendants in this case. They also know their respective
              situations better than does the court. For one thing, the lawsuit
              is and will continue to be extremely expensive both to pursue
              and to defend. The case, still in the pleading stage, already has
              some 94 docket entries. Inevitably, it will involve complicated
              legal and accounting issues as well as massive discovery. We
              are not going to compel a party to engage separate counsel it
              may not be able to afford, if the party understands the
              “implication of common representation and the advantages and
              risks involved.”

1997 WL 186329, at *4 (citations omitted). In the end, despite the allegations of conflict

of interest, the Kaiser court permitted joint representation upon proof of informed waiver.

Here, because allegations of conflicts of interest are not adequately substantiated, the Court

need not reach the informed waiver issue.

       The citation of Wittenborn v. Pauly, No. 87 C 5814, 1988 WL 33723, at *5 (N.D.

Ill. Apr. 1, 1988) is incomplete. Diagnostic Affiliates represents it to be a multiple-

defendant RICO case in which common representation of the defendants was prohibited.

But the reason for finding a conflict was that it was a shareholder derivative suit in which

there was an inherent conflict of interest between a corporate director and the corporation

he served. There are no shareholder derivative allegations here. And Diagnostic Affiliates




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has failed to show that any set of Defendants can prevail only at the expense of other

Defendants.

        Reliance on McGinn v. DeSoto, Inc., No. 90 C 4481, 1990 WL 251753, at *1 (N.D.

Ill. Dec. 21, 1990) is also misplaced. That opinion states that the ERISA plan fiduciaries

were in a relationship with the plan such that the case was akin to a shareholder derivative

suit where disqualification for a conflict was necessary. But before this Court can apply

the holding of that case, it must determine the nature of the claims, which is not apparent

in the disqualification opinion.

        The nature of the McGinn claims can, however, be found in an earlier opinion in the

same case. See McGinn v. DeSoto, Inc., No. 90 C 4481, 1990 WL 186212, at *1 (N.D. Ill.

Nov. 14, 1990). There, it is readily apparent that the company’s employees sued the

company, the ERISA plans, and the plan fiduciaries for mishandling a common stock fund

into which employees had contributed for investment purposes. The plan fiduciaries were

charged with having mishandled the fund for the purpose of staving off a hostile takeover

and securing their own positions in the company. Those allegations are nothing like the

allegations here, where the question is whether the Diagnostic Affiliates’ claims are

properly reimbursable from plan assets. The shareholder derivative analogy does not apply

here.

        Diagnostic Affiliates has not demonstrated that the RICO claim against United

presents an actual conflict preventing the joint representation of all Defendants. Neither




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has it shown that there is an appearance of impropriety arising out of the nature of the

relationships between the parties.

   B. Balancing Public Suspicion Against Societal Interests

       Because Diagnostic Affiliates has not demonstrated any true conflict of interest in

Figari’s representation of both sets of Defendants, and because the case allegations are not

such as to create a glaring or obvious concern about joint representation, it is clear that the

societal interest prevails—the interest in a litigant’s right to choose its own counsel and

present a joint defense against a common adversary.

       The Court finds that the suggestion of a potential conflict of interest is insufficient

under this record to require disqualification of Figari. And because no imminent conflict

has been shown, the Court need not inquire further whether the conflicts are waivable or

whether the waiver of conflicts that Figari has averred that its clients have provided are

adequate.

                                      CONCLUSION

       For the reasons set out above, the Court DENIES Diagnostic Affiliates’ motion to

disqualify Figari as counsel for Defendants. D.E. 104.

          ORDERED on January 18, 2022.

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                                                    NELVA GONZALES RAMOS
                                                    UNITED STATES DISTRICT JUDGE




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